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                   EXHIBIT 9
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                                          Background Paper



      OMM. OF THE SECRETARY   a   U.S. DEPARTMENT OF HEALTH, EDUCATION, AND WELFARE



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      TASK FORCE ON PRESCRIPTION DRUGS

                        Background Pafrs                      r- 51.31:4 .
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        US. DEPARTMENT OF I-iF.ALTH, EDUCATION, AND WELFARE

                        Washington, D.C. 20201
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INTRODUCTION

IN MAY OF lMs acting upon a directive from the Pres'tdant, John
W. Gardner-then Socrecary of Health, Education, and Wtlfw*---
est^ lished the TLA Force oa Prescription Drugs. The charge to the
Taste Force appetued to be simple-
    -VndertaEe a ca aprehcnfive study of the probkms of ineaTuding Ad
 cost of prtacription dnsgj under dfedictzm
   Fero assignments, however, have been more cotupim Essential for
 the Task Force study was objective information on the health needs
 and resources of the elderly ; the present patterns of drug use; the
nature of drug rewArch, prrtduction, and, distribution ; ounTent drug
 insurance progmw in the United States and abroad ; reiaibursemeat
 methods and administrative approaches ; legal and fiscal aspecf;. and
 the pharmacologh a3 and clinical aspects, indudisng the indicate
problem of chemical and clinical egwvalency of gezaeno products.
   In some instaanoes, the necessary data were readily available. In
othtrs, they were not--Lad the Ta sk Force found it necessary to
 undertake its own special research projects,
   The infonnadont derived from these studies serves as the beau for
the findings and recommendations which are being published ssepa-
ra Ay by the Task Pone. In additions, hawtsver, this b xA*w matter
appears to have great value for the Cbngreah many State and Federal
govenumutal agrzdtz, the tocdical and pharmacy communities, the
drug industry, health insurance organizations , health edt"tors, and
oonnu: er groups. Accordingly, the Task Force is publishing the de-
tailed rsmnlts of its studies in a aeries of background papers.
   This volume, combining studies on the manufacture and the distri-
bution of prescription drugs, is one such publication. It was prepared
by the Taste Force staff in cooperation with snarly consultants, both
governmental and nongovernmental, whom invaluable assistance is
gratefully acknowledged . Special appreciation gore to the many rep.
re lentaa lve9 of the pharmaceutical industry, the pharmacy profeestoa,
and the medical Ina seiendu oomarnumdes who kindly made available
much vnpuMisihed material to tine Taelt Force and provided their
valuaable advise, guidance, and proposals to the Task Form Staff.
                       the prtsent high quality of health cam enloyed
by most Americans--.-though by no means by aU of then--;a a testi-
monial is considerable part to the many accomplishments of the
American drug industry and the American pharauv: i              But it is also
clear that the level of health cart in this country is not pet high enough
to justify any complacency or slackening of our efforts. Serious prob.
lems still ezist in the development and marketing of drugs, and
realistic arpe must be taken-with imaginstaon, understanding, oour-
wt, an d bol dne55,---i f our goals ass to be a.chi eyed. The n ature of some
of the_ve problems and the steps t1na can be Wren are indicated in this
volume.




                                                     Paz" R L.zx, 3ED.
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              OAPTER 7
oca It)
with
.r leat;      INDUSTRY PRICES
;'7      ,

.digs . In the tness of debate, controversy, and Congres-          Book, both standard price directories published
adrerq Onal hearings of the pest decade dealing with the           annually. Normally, the Bad Book and Blue Book
 whir,        jjvg industry, perhaps the mast heated issue has     listings quota the maximum price to the retailer,
      ids I ^ocerned the atturrpt to determine whether drug        Khether he buys from a wholesaler or directly
            Prices art or are not "too high." Consequently,        from the manufacturer. However, Nod Book and .
                 .nner in which prices are determined, the         Blue Book do not reflect the actual manufacturers'"
                 vior of prices over time, and the price dis-      priers to wholesalers and retailers, which are de-
                    to various purchasers all bear on any undar    tarmined by the amounts of various kinds of dis-
                                             d on any evaluation   counts. Nor die these publications always reflect the
                                                                   prices in the most recent editions of each company's
                                                                   product eatalog.
                                                                     The price discounting system starts with the
              Orally promote b                                        pang's catalog prices. Wholesalers and re-
              e the Nation's practici                                 ars, hospitals, and government agencies often .
                    l    r degTea,                                     maia:edly different priers for the same drug
              i "MICtSta.                                              dosage form, as described later. Some prides
               Today, there an perha                               quoted in the Red Book and Bluer Book appear
              sad doctors of osteopathy in prix                    generally to be - unchanged over long periods,
             pea dentists, and 120,000 active pba                  though both the wholesaler and the community
             skiition, approsim"y 45,000 physicians                pharmacist are not being charged the list prices.
             seining and 55,000 an in government armies or            For to mple, about 200 drag products accounted
                engaged in professional work other than pri-       for 67 percent of all prescriptions filled in 19#36.
             We practice. (88)                                     The Red Book prices for one or morn dosage forms
              The industry's commercial marketing of pre-          of at least one-quarter of these drugs had not
             aription drugs, howavar,- is accomplished not         changed from the 1959 to the 1968 editions. (0,
             Arough practitioners but largely through whole-       p. 71) Slightly more than one-half of the drugs
             alerv who sell to independent and chain store         with unchanging prises were brand-name prod-
             *=aciss, or through direct sale to such               ucts.-.most presumably protected by patents
             *zmacies.                                             madeby the largest manufactures.
               In 19% 47`.5 percent. of domestic mace was             The prices of most drugs on the list of $00 have
             ttelecalers, dorm nearly one percent from llx6b.      fluctuated to soma extent dnrlrg^ the last decade
                   salts to rtt&u outlets of all types acccanted   but the disparity in manufacturers' listed prices
             Jar 29.6 percent, slightly lower than is IN &         and .what their customers really pair mattes reason-
               Direct sales to hospitals (private, State, and      able comparisons crtrernely difficult. In this
             Jxal government) and the medical profession ac-       spect, various indices used by business monornista
             wunted for 17.2 percent of domestic output, while     and the government to measure changes in pre-
             06 Federal government, including hospitals and        scription    drug    prigs    are   vulnerable   to
             Ober goremm)ent inytallations, purchasni 4.8          misinterpretation.
             percent 33"lane'ous purchasen acqui¢         the        A. number of factors may cause the disparity
             nmaining lees than one percent (56) (                 between some of the published drug priced and the
             figure 8                                              smounte actually entered on the castower' a inToim
                                                                     bZtst, the introduction of a new dosage form
                                                                   can mean a price change for a drug whose other
             The Discounting System
                                                                   existing for=3 remain unchanged in price- T111
               Kanufacturcrs' priers of prmcription and ovtr-      overall price of the product does not necessarily
             U punter drugs are found principally in Drup          remain static because the price of several older
             r^riu Red Book and the Am"4canDruggirt B&as           dosage forms holds sttady.
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Figure 8,_-Dosnest'it Distri m   . of Human Dosage Pom Prescription         ugs by Percent of Manufa
                                             Saks. 1956




           SOURCE: PHARMACEUTICAL MANUFACTURERS AS=IATWN. 1969. MANUFACTURERS'
                   SALES OF ETHICAL FHARMACEUnCALS. ANNUAL SURVEY OF PMA MEMBERS.
                   AUGUST 1967.



  Second, the catalog price is not neoessarily what          Discount deals can become complicated, b
the oompany reoovars overall per unit, evels if it         pointed out:
Sells directly to retailem Volume discounts, boons
goads, and other trado incentives all operate to               "We rein into such items as tine free
dwnnm a tecelpts per uu*                                     deal. Free broods of one with eleven or two
  A drug company official has said.                          tan are common and eSective promotional d
                                                             kwanees. However, some manufacturers hr
   "Every manufacturer coning direct has his                 lost sight of the promotional purpose of
 own selling plan. These plans have little uni-              goods deals and are using this method to
 forwity or oousistar   but in general oSer extra            sell competition in some trade elaseta withod
 discounts frool the net trsde prier. These dis-             the acmes-Owboard reduction. Use of physWO
 counts might be based on yearly volume, volume              samples for this purpose is also cosamoio."
 over quota or site of individual order. So far
 this discount structure is fairly simple. 'T'heft         And he added:
 PezftntW f Bares appear in the various                       "To further complicate the pi&%m we )0
 0"409um" (44)                                               wholesalers passing on most of their disco

                                                      32
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 to the retailer, and retailers spl,._,ng their bxn-        uncommon illncsser-.r hem the market is lim-
 d1ing allowance with the hospital, all in good             ited-are often sold at or below manufacturer's
 free competitive form in the best tradition of             cost and in some cases may be supplied without
 ftobinson•Patman. A rather good description of             charge.
 the pharmaceutical marketplace was given by a                 Profit potential and the cost of promoting a new
  leading professor in business administration re-          drug to physicians and others are intimately re-
  cently when he referred to it as 'an oriental             lated. One reason is that therapeutic value does not
                                                            guarantee aide sales, at least initially. Word of
                                                            therapeutic tfficacy demonstrated by such prod-
  .4,not her reason for a relative lack of appa             ucts as sulfa -elms, penicillin salts, and cortico-
,# clog pries movement is that for products evait-          steroids spread quickly, but these were atypical.
dle from more than, one source, the catalog price           Much more common are the chemical workhorses
^isstitutes an "umbrella" beneath which the com-            that provide more modest therapeutic gains--
fairy can maneuver against competing producm                often variations of existing drug products,--rind
     higher the umDrellrt, within limits, the more          they need marketing help.
              thare is for maneuvering. (63, p. 71)           A drug ideally should be priced so that it can
                                                            absorb not only the costs of marketing required
                                                            to realize its full profit potential , which requires
                                                            another estimate, but also a large share of its re-
                                                            search a»d derelopment costs . Its price mast
                                                            also reflect a shame of the costs of unsuccessful
                                                            rv*arcli.
                                                              When a drug company takes the trouble to ap-
                                                            ply for a trademark, it is usually for a drug prod-
                                                            uct with high profit potential. Price and profit
                                                            on trademarked drugs--along ' with marketing
                                                            casts on them--tend to be high. Conversely, price
                                                            and profit on drags sold without a trademark tend
                                                            to be lore. Since established generic-name prod-
                                                            ucts generally are well known to the physician,
                                                            they are not prosuoted extensively. Accordingly,
                                                            the manufacturer of such products can normally
                                                            offer than at law prices.
                                                               The latitude allowed a drug company in charg-
                                                            ing what the market will bear is apparently deter-
                                                            mined by the uniquentaas of its product. A. major
                                                            breakthrough into an entirely new therapeutic
      on I Again, satime o
                                                            field obviously will And no tompetitors'waiting,to
  ima tes . (6,l, p. 72)
                                                            offer a reasonable substitute. Thus , the innovator
  A.notber factor is whether the drug is used for
                                                            can dominate the market in that new tharape ttie
wmia, or chronic conditions in the young or the
                                                            group, and charge what he considers appropriate
teed. now who take drugs for proloagad periods
                                                            until a competitor develops a more attractive
 !perhaps for life), it is contended, should be
                                                            product
of rod medication st the lowest possible cost so
                                                               For products that are not unique-and this
that it does not become too heavy a burden. In the
riser of some observers in the drug industry, ps-           applies to the majority of innovations coming
                                                            from the pharmaceutical industry---the situation
timts suffering from chronic conditiuru de-wrre
'Pecial consideration. Similarly, ra"ufartumn               is different, If comparable suhs;itute_s in their
bye been advised to support efforts to matte pre-           therapeutic group already clist, it firm can hope
*ription drugs available at loser coa t.o the in.           to achieve, only a limited share of the maricet, re-
CjMt, to those not gainfully employed, and                  gardless of price, unless it undertakes a henry
cecially to the aged. (16, pp. 58 et seq.)                  promotion campaign.
  Actually, the industry's response antedates this            Introductory Price. When n new product is first
";g ion. For example, drugs designed to treat               introduced, a drug company tends to price it rela.

                                                       33
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  tively high. It might be erkod to predum a              ermw, indv -y sources say, is dins the avera0
  specified annual bwouw, -with anticipated price re-     price keel of today's highly potent and aorn*
  ductwns, in9ationary increments and competitive         drugs is higher than the average for older, lea
  developments figured in, over the length of the         potent drugs. It has been suggested that some of
  patent life, and perhaps beyond. A rtlativelp high      gradual rise may be due to an inemm'in unks.et
   initial price is encouraged by the fact that prise     tablets per prrseriptioa Tbis may apply to some
   oompedtion at the Maufactner's price probably          products but not to those drags which requm
   will account for less then half the price to the       constant supervision of the pates, with the writ.
  pat>cnt. (63,p-73)                                      Mg of prescriptions at relatively frequent intea
     Figure 0 thous horn an "aver%W prescription.         rals. (16, p. 58) With some of the newer, mote
  coat is divided woong manufacturer , wholesaler,        powerful drugs, the overall cost of trtataoent ma1
  and retailer ; Figure 10 indicates hors the manu-       actually be less than it was with older medication
  facturer'sshare of the cost is divided.                 because fewer doses are required and the ocniv
     Price Irw easa. Although the average preeerip-       of the disease is halted earlier.
  tion price of an original prescription ( aa distinct      The originator of a new drug usually sets ON
  from a refill) was 53.38 in 1966, according to the      selling, ;price on the basis of considerations at
  National Prescription Audit ( Ii. A. GosseHn a          ready described. This price seems to become t
  Co.), the average mull price of an original pr's        guide for all su eeding drugs with similar there
  seription for a newly introduced product was l^.,       poutio aWon and dosage forms A British wriw
  rising from 59.93 in 1862 One reason for the in.        has suggested that "the pricing policy of the lesdr

  figure 9.--Components of Prescription Cost of $3 .20 Among Manuftcbrer, Whotesaler, &W
                       Pharmacist, 2965 (See also Figure 11. page 55)




            SOURCE : DRUG TOPICS, Aria! 1, 19".


                                                     3A
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        bound to }lave a dominant ed , on the policy            changes am of ol...y tt.cadetnic importance to the
       dno.ls." (so)                                                    ex. For example, some early breakthrough
?^z      In general, it appeers, new items appearing on         drags, such m the first antibiotics and meroid
lid
'}s   0 narL-a are priced higher than the items they            hormones, rrere priced originally at very high ler.
3     oplaze-perhaps because the new items are more             elsti reflecting their high derelopment costs and the
ate Bent, more sophisticated, need less frequent use,           primitive production prod employed A-s im-
                   some other charicteristic that justiSes      provements in manufacturing methods occurred,
uirt It )
           pr ice d ifferential, But it maybe thst the higher   prices fell--and often fell drastically. Reductions
      ^icc Is really just that-a rise in price , if not in      of this sort obviously are highly significant from
 ter.
%ote ^I^^e actual price tag, at least in ghat the consumer      the consumer's point of view.
na? gust pay for his drugs, now that he is buying
                                                                   Reduetiotus of another sort tut more common
Iota ,^e net item rather than the old.                          but may or may not be meaningful. These involve
urst                                                            products that have been on the market longer
        prece Dtrressts. Men they occur, pride de.              than their actual or expected commercial life. For
       pies may be of different sorts .and the result of        some of them, the price cuts may ref4ect the pro-
       hllerent circumstances. Same of the price                ducer's reef duition of their past contribution to
to a
         Fgtue 10.-wComponents of Manufactutees Share of Prescription Drug Costs of $1 .47, as
                                     Received from Wholesaler




                  SOURCE; HONE PATIENTS' PAYMENTS FOR DOCTORS' PSMRIPTIONS ARE
                          DIVIDED BETWEEN DRUG STORES, WHOLESALERS AND PHARMACEUTICAL
                          MANUFACTUREPM.ADAPTED FROM LILLY DIGEST, NATtONAL WHOLESALE
                          DRUGGISTS' A=Y. DPERATING SURVEY AND DRUG TRADE NEWS FINANCIAt.
                         SURVEY OF DRUG TRADE SUPPLIERS, DRUG Tt7KS, APRIL 4. 1966,
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profits and he ma-7 thus be int..- ed to lower thxse   BLS, hoe showy, . decline iL manu#ativsenl .
profit margins. To consumers, such reductions u ty     from a level of 100 in 19451 to 99.4 in January 1qq
be very mca.uingful . For others, thouigh, the price   Thi s d ecre1se reflects the prices o1 about SO sel
cuts may be competitive moves---and ususlly fl-        drugs which have been examined periodictUy,
tile ones-to offset the introduction of new items      which have generally remained steady or
wbh ch thr"jan to displace them in the markets, and    creased in price, or in a relatively few insta
thus art of It% sigr ificance to petients who re-      Have increased. But the wholesale index d
ceive prescriptions calling for the, new itaoas.       refiect the impact of the introduction of ne
  An example of this type of price cutting was         more expensive single or combination produ
reported recently in the drug trade press, as          new dosage forms, which tend to raise it
follows-                                               prescription prices. {82}

      Ully whose basic product patent on V-409-        Substitution Effect
       and 'V`--Gitlin R expires July 31, licenses
  both Abbott and Wyeth. Lilly sells the bulk            In any discussion of prescription drug
  phsrmsceuticals to Wyeth, and Abbott menu-           indices aad:"average prescription prices,:
  factures its own hulk materials. Thus, LAIly°s       dustry novas that cognizance must be given
  steady price reductions (io to tt.6 percent, ef-     tread for newer and more effective drugs
  fective Jum J. Ed.) can be regarded partly as        may limit or substitute for hospitalization a
  as effort to discourage new competition from en-     many cases, for the time and expense of ph;
  tering the market when the patent expires." (18)     and other health care peiaesanel. Within t
                                                       phial, this substitution effect occurs not only
                                                       new products,-which may shorten this duration
Prica Indices                                          the patienta stay--but, also through new d4
                                                       forays or methods of applicaton which
  The Bureau of Labor Statustim publi                  on other costs, e.g., reducing the nut=
        Consumer Price Index for Dins categories       cation errors, cutting down on nursing ti
   drugs encwmpawang 14 specially selected prod-       otherwissincreasing hospital etWency. Dessg
  dL This BLS index has suggested a decline in         higher costs of some of the new substitute dru
    criptioa drug costs since 1937-39. But, as dis-    the drug industry maintains that the share
cussed elsewhere, a different measure is provided      total health care dollar spent for prescxi
by three major surveys of average prescription         drugs has declined from ILL Cents in 1957
prim of all drugs, which unifeirmly demonstrate        cents in 1%6--a fact which the industry says
a gradual rise in average prvsc ription prices at      foandly affects the task of projecting future h
the retail level. (88)                                 can expenditures both in' the public and p
  The Wholesale Price Index, also, publiked by         sactors.
